            Case 2:16-cr-00100-RSL         Document 100        Filed 01/25/17      Page 1 of 4



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 6
                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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 9
      UNITED STATES OF AMERICA,

10
                             Plaintiff,
                                                                  NO. CR16-100RSL
11
                     v.

12
      BINGHAM FOX,                                                ORDER DENYING U.S. MOTION
                                                                  TO PRECLUDE EXPERT
13
                             Defendant.                           TESTIMONY

14
            This matter comes before the Court on the government’s motion to preclude the testimony
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     of defendant Bingham Fox’s proposed expert John Douglas Dixon. Dkt. # 64. Defendant hopes
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     to present Mr. Dixon’s expert testimony about oil pollution compliance on fishing vessels
17
     similar to the one in this case. The government asks the Court to preclude that testimony on the
18
     grounds that defendant’s Fed. R. Crim. P. 16(b)(1) expert disclosures were untimely and
19
     inadequate, that Mr. Dixon lacks the requisite expertise in the relevant field, and that defendant
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     seeks to introduce Mr. Dixon’s testimony as to an ultimate legal issue in the case. Having
21
     reviewed the memoranda and exhibits submitted by the parties,1 the Court finds as follows.
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            Federal Rule of Criminal Procedure 16(b)(1) requires defendants to disclose certain
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     information, including the results of any scientific test or experiment related to the trial
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26            The Court finds this matter suitable for disposition based on the materials submitted by the
     parties and therefore denies the parties’ requests for oral argument.
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     ORDER DENYING U.S. MOTION
28   TO PRECLUDE EXPERT TESTIMONY - 1
           Case 2:16-cr-00100-RSL          Document 100      Filed 01/25/17   Page 2 of 4



 1   testimony of a witness, Fed. R. Crim. P. 16(b)(1)(B), and a written summary of the basis for any
 2   expert witness opinion testimony, Fed. R. Crim. P. 16(b)(1)(C). The government argues that
 3   defendant’s expert witness disclosure of October 11, 2016 was provided too close to the former
 4   trial date of October 31, 2016, and that in any event the written summary inadequately discloses
 5   the basis for Mr. Dixon’s opinion testimony. Given the Court’s continuance of defendant’s trial
 6   until March 20, 2017, Dkt. # 73, the government’s untimeliness argument is now moot. And the
 7   Court concludes that defendant’s written summary adequately summarizes both the testimony
 8   that Mr. Dixon hopes to present and the basis for that testimony – namely, Mr. Dixon’s forty-
 9   year career as an engineer focusing on shipboard safety and environmental issues. Dkt. # 64-1 at
10   1, 4–5.
11             The government also argues that Mr. Dixon’s proposed testimony is irrelevant and
12   unreliable. To be admissible, expert testimony must be both relevant and reliable. Estate of
13   Barabin v. AstenJohnson, Inc., 740 F.3d 457, 463–64 (9th Cir. 2014). “Relevance” requires only
14   that the evidence “logically advance a material aspect of the party’s case.” Cooper v. Brown,
15   510 F.3d 870, 942 (9th Cir. 2007). “Reliability” requires that the expert’s testimony have “a
16   reliable basis in the knowledge and experience of the relevant discipline.” Kumho Tire Co., Ltd.
17   v. Carmichael, 526 U.S. 137, 149 (1999) (citing Daubert v. Merrell Dow Pharmaceuticals, Inc.,
18   509 U.S. 579, 592 (1993)). It is the Court’s responsibility to act as gatekeeper, excluding “junk
19   science” that does not meet those standards. Ellis v. Costco Wholesale Corp., 657 F.3d 970, 982
20   (9th Cir. 2011).
21             Defendant offers Mr. Dixon, a licensed marine engineer, for his expert testimony on
22   common environmental practices aboard fishing vessels like defendant’s. The government
23   argues that Mr. Dixon should not be permitted to testify as to what environmental practices are
24   permitted by federal law, or that it is common practice for fishing vessels to discharge oily water
25   overboard in violation of that law. The Court agrees that an expert witness may not give his
26   opinion on legal conclusions, such as what conduct federal law permits. See Hangarter v.
27
     ORDER DENYING U.S. MOTION
28   TO PRECLUDE EXPERT TESTIMONY - 2
            Case 2:16-cr-00100-RSL        Document 100       Filed 01/25/17     Page 3 of 4



 1   Provident Life & Acc. Ins. Co., 373 F.3d 998, 1016 (9th Cir. 2004). But testimony regarding the
 2   common environmental practices of fishing vessels may be both relevant and helpful to the fact-
 3   finder in understanding the complex technical facts of this case, see Fed. R. Evid. 702, and so
 4   Mr. Dixon may express his opinion on those practices without commenting on whether they
 5   comply with or violate federal law. The government may object to Mr. Dixon’s testimony
 6   during trial and the Court will make its determination regarding the propriety of the testimony at
 7   that time.
 8          The government also argues that Mr. Dixon’s background does not qualify him to testify
 9   regarding the chemical and biological characteristics of oily bilge water and certain cleaning
10   solvents. But Mr. Dixon need not be a chemist or biologist to develop an expert-level familiarity
11   with characteristics of bilge water and cleaning solvents. The Court finds that Mr. Dixon’s
12   research on oil pollution compliance and his experience conducting environmental audits of
13   fishing vessels qualifies him to testify on the basis of his familiarity with oily bilge water and
14   bio-remedial cleaning solvents. This experience also qualifies Mr. Dixon to testify regarding
15   whether, in his experience, fishing vessels pump oily bilge water overboard when the vessel
16   holds contain live seafood. All of this testimony may well help the fact-finder understand
17   technical aspects of this case. See Fed. R. Evid. 702. The government may test the basis for Mr.
18   Dixon’s opinions on cross-examination, and to the extent Mr. Dixon’s testimony veers outside
19   the scope of his experience, the government may object.
20          The Court is also unpersuaded by the government’s argument that Mr. Dixon’s testimony
21   is unreliable because he never personally inspected defendant’s vessel.2 An expert witness is
22   permitted wide latitude to offer opinions, including opinions not based on firsthand knowledge
23   or observation, so long as the expert’s opinion has a reliable basis in the knowledge and
24   experience of his discipline. Jinro Am. Inc. v. Secure Investments, Inc., 266 F.3d 993, 1004 (9th
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            2
26           Defendant argues that Mr. Dixon has, in fact, been aboard defendant’s vessel on multiple
     occasions. Dkt. # 75 at 11.
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     ORDER DENYING U.S. MOTION
28   TO PRECLUDE EXPERT TESTIMONY - 3
            Case 2:16-cr-00100-RSL        Document 100       Filed 01/25/17     Page 4 of 4



 1   Cir. 2001); Fed. R. Evid. 703. Upon review of Mr. Dixon’s qualifications, Dkt. # 64-1 at 1–5,
 2   the Court concludes that Mr. Dixon’s experience with marine safety and environmental practices
 3   is sufficiently reliable that total preclusion of his testimony is unwarranted. The government
 4   will have the opportunity to test Mr. Dixon’s opinions on cross-examination.
 5          The Court does, however, agree with the government that Mr. Dixon may not testify as to
 6   the state of mind of defendant and other crew members based on speculation regarding their
 7   interpretation of a Clean Water Act placard. Federal Rule of Evidence 704(b) explicitly
 8   provides that: “In a criminal case, an expert witness must not state an opinion about whether the
 9   defendant did nor did not have a mental state or condition that constitutes an element of the
10   crime charged or of a defense. Those matters are for the trier of fact alone.” The Court will not
11   admit expert testimony stating an opinion on whether defendant possessed a culpable state of
12   mind, but to avoid precluding relevant and admissible testimony, the Court will reserve ruling on
13   the admissibility of specific expert testimony until it is presented in context.
14                                             CONCLUSION
15          For the all the foregoing reasons, the government’s motion to preclude the expert
16   testimony of John Douglas Dixon (Dkt. # 64) is DENIED.
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18          DATED this 25th day of January, 2017.
19

20                                                      A
                                                        Robert S. Lasnik
21                                                      United States District Judge
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     ORDER DENYING U.S. MOTION
28   TO PRECLUDE EXPERT TESTIMONY - 4
